                                     IN	  THE	  UNITED	  STATES	  DISTRICT	  COURT	  	  
                                    FOR	  THE	  MIDDLE	  DISTRICT	  OF	  TENNESSEE	  
                                                      AT	  NASHVILLE	  
 	  
 UNITED	  STATES	  OF	  AMERICA,	  	                     	           )	  
 	     	     	          	    	                           	           )	  
 	     	     	          	    	                           	           )	         Case	  No.	  	  3:10-­‐cr-­‐00260-­‐8	  
 v.	   	     	          	    	                           	           )	         William	  J.	  Haynes	  
 	     	     	          	    	                           	           )	         Federal	  District	  Judge	  
 	     	     	          	    	                           	           )	  
 FADUMO	  MOHAMED	  FARAH.	                                	           )	  
 	     	  
                                                           	  
                                          MOTION	  IN	  LIMINE	  #4	  
                                                           	  
                                                           	  
 	          Comes	  now	  the	  accused,	  Faduma	  Farah,	  by	  and	  through	  her	  counsel,	  Luke	  A.	  

 Evans,	  and	  moves	  this	  Honorable	  Court	  to	  issue	  an	  order	  directing	  the	  Government	  

 as	  follows:	  

 	          1.	        It	   is	   anticipated	   by	   the	   accused,	   that	   the	   Government	   will	   put	   forward	  

 evidence	  concerning	  the	  Defendant’s	  file	  from	  the	  leasing	  office	  at	  Nashboro	  Village	  

 and/or	   her	   MDHA	   file.	   	   More	   specifically,	   that	   the	   defendant	   received	   government	  

 assistance	   via	   section	   8	   housing	   and	   that	   management	   suspected	   that	   Defendant	  

 was	  in	  violation	  of	  her	  lease	  agreement	  for	  multiple	  reasons	  to	  include;	  people	  living	  

 in	  the	  apartment	  that	  were	  not	  identified	  on	  the	  lease;	  and/or	  that	  Defendant	  was	  

 running	   a	   daycare	   from	   her	   apartment.	   Whether	   the	   defendant	   received	   public	  

 assistance	  or	   was	  in	  violation	  of	  her	  lease	   agreement	  is	  not	  relevant	  in	  the	  case	  at	  

 bar.	   	   Further,	   the	   witnesses	   assumptions	   as	   to	   what,	   if	   anything,	   was	   going	   on	   in	   the	  

 defendant’s	  home	  is	  not	  relevant.	  	  	  	  

 	          2.	        Based	   on	   the	   foregoing,	   the	   accused	   moves	   this	   Honorable	   Court	   to	  

 issue	  an	  Order	  directing	  the	  Government	  to	  refrain	  from	  referencing	  in	  any	  manner,	  



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 in	  the	  presence	  of	  jury,	  any	  of	  the	  proof	  related	  to	  whether	  the	  Defendant	  received	  

 public	   assistance,	   the	   contents	   of	   the	   Defendant’s	   file	   from	   the	   leasing	   office	   at	  

 Nashboro	   Village,	   her	   MDHA	   file,	   and/or	   any	   assumptions	   and/or	   opinions	   of	  

 persons	   regarding	   the	   Defendant’s	   activities	   inside	   her	   home	   as	   well	   as	   any	   proof	  

 related	  to	  the	  Defendant	  being	  evicted	  and/or	  in	  violation	  of	  her	  lease	  agreement.	  	  	  	  

              3.	         Any	   information	   regarding	   those	   allegations	   would	   be	   irrelevant	   at	  

 the	  trial	  in	  this	  cause	  pursuant	  to	  the	  Federal	  Rules	  of	  Evidence,	  401,	  402.	  	  Moreover,	  

 if,	   said	   information	   were	   allowed	   to	   be	   presented	   to	   the	   jury,	   it	   would	   be	   unfairly	  

 prejudicial	   to	   the	   accused	   and	   likely	   confuse	   the	   jury	   and/or	   mislead	   the	   jury	   for	  

 their	   consideration	   of	   the	   indicted	   offense	   in	   violation	   of	   Rule	   403	   of	   the	   Federal	  

 Rules	  of	  Evidence.	  	  	  

 	           4.	   	   Additionally,	   to	   introduce	   such	   evidence	   to	   the	   jury	   in	   this	   cause	   would	  

 violate	  Rule	  404b	  of	  the	  Federal	  Rules	  of	  Evidence,	  as	  it	  is	  evidence	  of	  “other	  acts”	  

 that	   is	   unfairly	   prejudicial	   and	   without	   sufficient	   corroboration;	   therefore,	   the	  

 Government	   should	   be	   required	   to	   conduct	   a	   jury	   out	   hearing,	   in	   full	   compliance	  

 with	   Rule	   404b	   of	   the	   Federal	   Rules	   of	   Evidence,	   prior	   to	   either	   referencing	   or	  

 presenting	  such	  evidence	  to	  the	  Jury.	  	  	  	  	  

 	           WHEREFORE,	  PREMISES	  CONSIDERED,	  the	  accused,	  through	  counsel,	  moves	  

 this	   Honorable	   Court	   for	   the	   relief	   as	   stated	   herein,	   as	   well	   as	   any	   further	   general	  

 relief	  that	  this	  Court	  deems	  both	  necessary	  and	  proper.	  	  	  

 	  

 	  

 	  




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                                            Respectfully submitted,
           	  
                                            BULLOCK,	  FLY,	  HORNSBY	  &	  EVANS	  
 	  
 	  
                                            /s/	  Luke	  A.	  Evans	  
                                            LUKE	  A.	  EVANS,	  BPR	  #23620	  
                                            Attorney	  for	  Defendant	  
                                            302	  North	  Spring	  Street	   	                	  
                                            P.	  O.	  Box	  398	  
                                            Murfreesboro,	  TN	  37133-­‐0398	  
                                            (615)	  896-­‐4154	  
 	  
 	  
 	  
 	  
                                                     Certificate	  of	  Service	  
                                                                       	  
 	        I	  hereby	  certify	  that	  on	  March	  9,	  2012,	  I	  electronically	  filed	  the	  foregoing	  
 Motion	  with	  the	  clerk	  of	  the	  court	  by	  using	  the	  CM/ECF	  system,	  which	  will	  send	  a	  
 Notice	  of	  Electronic	  Filing	  to	  the	  following:	  Van	  Vincent,	  Assistant	  United	  States	  
 Attorney,	  110	  Ninth	  Avenue	  South,	  Suite	  A-­‐961,	  Nashville,	  Tennessee	  37203;	  along	  
 with	  the	  other	  parties	  in	  this	  case	  as	  listed	  to	  be	  noticed	  in	  the	  CM/ECF	  system.	  
 	  
 	        	         	        	             	          	          /s/	  Luke	  A.	  Evans___________________________	  
 	        	         	        	             	          	          LUKE	  A.	  EVANS	  
 	  
 	  
 	  
 	  




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